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  8                         UNITED STATES DISTRICT COURT
  9                        CENTRAL DISTRICT OF CALIFORNIA
 10   DAVID POWELL, SR., individually           Case No. 5:16-cv-01472-JGB-KK
      and as a successor-in-interest to David
 11   Powell, Jr., deceased; ROSEMARY           NOTICE OF ERRATA RE FIRST
 12   RENTERIA, individually and as a           AMENDED COMPLAINT FOR
      successor-in-interest to David Powell,    DAMAGES
 13   Jr., deceased, LORETTA CHAVEZ,
                                                [corrected copy of First Amended
      individually; and G.L., a minor,
 14
      individually, by and through his          Complaint filed concurrently herewith]
 15   guardian ad litem Loretta Chavez,
 16                Plaintiffs,
 17
            vs.
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 19   CITY OF BARSTOW; JUAN
      ZEPEDA; ANDREW BUESA; and
 20   DOES 3-10, inclusive,
 21                Defendants.
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 23
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 25        TO THIS HONORABLE COURT, ALL PARTIES AND THEIR

 26 ATTORNEYS OF RECORD: Please take notice that Plaintiffs are resubmitting
 27 their First Amended Complaint to correct the following errors: (1) Attorney Albert
 28 Oganesyan should be removed from the caption; (2) in paragraph 23 of Plaintiffs’

                                                    FIRST AMENDED COMPLAINT FOR DAMAGES
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  1 First Amended Complaint, the date should read “September 14, 2015,” as opposed
  2 to “September 14, 2016.” Plaintiffs have corrected these errors in the attached copy
  3 of Plaintiffs’ First Amended Complaint. Plaintiffs respectfully request that this copy
  4 of their First Amended Complaint be considered the operative complaint.
  5
  6 DATED: November 18, 2016            LAW OFFICES OF DALE K. GALIPO
                                        RANDOLPH & ASSOCIATES
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  8
                                            /s/ Dale K. Galipo
  9                                      By
                                           Dale K. Galipo
 10                                        Don Randolph
                                           Attorneys for Plaintiffs
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                                NOTICE OF ERRATA RE FIRST AMENDED COMPLAINT FOR DAMAGES
